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EXhibit 4

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MONTAGUE V. YALE UNIVERSITY August 31, 2017

 

Page 1
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT
CIVIL ACTION NO. 3:16 cv 00885-AVC

________________________________ X
JACK MONTAGUE, :

Plaintiff,

_V_

YALE UNIVERSITY, ANGELA GLEASON,
And JASON KILLHEFFER,

Defendants.
___________T _____________________ X

DepOSitiOn Of STEPHANIE SPANGLER,
taken pursuant to the Federal Rules cf Civil
Procedure, at the Office Of General COunSel, Yale
UniVerSity, 2 Whitney Avenue, New Haven Connecticut,
before JameS A. Martone, LSR #248, and Notary Public,
in and for the State Of Connecticut, on August 31,

2017, at 12:05 p.m.

 

 

 

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1 information would need to be shared with the
2 respondent to get that outcome.
3 Q. But certainly if the complainant sought to
4 have the Deputy Title IX Coordinator or someone else

5 reach out to the respondent, to let him know that
6 someone had made a complaint, without revealing the
7 specifics of that complaint, that would be one option

8 that would be available?

9 A. lt's an option.
10 Q. And what would the formal complaint
ll process entail?
12 A. The formal complaint process is outlined
13 in the University-Wide Committee on Sexual Misconduct
14 procedures.
15 Q. But generally speaking, what's involved in
16 bringing forward a formal complaint?
17 A. Can you reframe that? l‘m not sure l

18 understand it.
19 Q. Well, you just described a little bit

20 about what might happen with a complainant opted to

21 proceed with an informal resolution.

22 A. Uh-huh.

23 Q. So if a complainant opts to proceed with a
24 formal resolution, what is the sort of sequence of

25 events in bringing that complaint through the formal

 

 

 

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1 resolution process?

2 A. A complaint in writing is sent to the

3 University~Wide Committee. The University-Wide

4 Committee decides about jurisdiction. lf they decide

5 there's jurisdiction, then it has jurisdiction. They
6 will enact procedures as they're outlined in their

7 procedures, which are on line, which involve

8 fact-finding, a hearing process, and a number of

9 other steps that culminate in a finding and
10 recommendations.
11 Q. Now for the formal complaint process, that
12 could proceed with the complainant, so the person who
13 has been the victim of some alleged sexual

14 misconduct, being the named complainant on the

15 Complaint, correct?

16 A. Yes.

17 Q. And it could also involve a Title IX
18 Coordinator being the named complainant on the

19 Complaint?

20 A. Yes.
21 Q. Now in the situation where the Title IX
22 Coordinator is the named complainant in the

23 Complaint, is it correct that the, what you'll call
24 the complainant, the person who experienced the

25 misconduct, that person, they don't need to be the

 

 

 

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1 named complainant, but they do need to participate in
2 the process, correct?
3 A. Yes.
4 Q. Okay. And the only circumstance where you
5 could have a -- the university-wide bring a complaint
6 in its own name, where the complainant does not agree
7 to participate in the process is if there is evidence
8 to suggest that there is a danger to the community,
9 correct?

10 A. Can you repeat that again?

11 Q. So is there any situation where the

12 university can bring a formal complaint where the

13 Title IX Coordinator or someone else is the named

14 complainant, and the alleged victim of the misconduct
15 does not agree to participate in the process at all,
16 is there any circumstance under which the

17 university-wide can still proceed with a formal

18 complaint?

19 A. If there's a risk to the safety of the

20 university community.

21 Q. Okay. So where a complainant is not --

22 and again sorry, where the person who is the alleged

23 victim of the sexual misconduct does not want to be

24 the named complainant, you either need that person's

25 participation in the process or you need some

 

 

 

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1 evidence that the respondent poses a danger to the
2 community, is that accurate?
3 A. Yes.
4 MR. NOONAN: Off the record.
5 (Discussion off the record)
6 Q. So back on the record. And when we talk
7 about requiring the complaining witness's
8 participation in the process, what does that mean,

9 participation?

10 A. Participation means in order for the UWC
11 to proceed with a formal process, they generally
12 except that the complaining witness will at least

13 speak to a fact finder. Beyond that, there are no

14 requirements. And in the course of explaining

15 options to a complainant, one of the conversations is
16 what limitations are placed on any process, be it

17 informal or formal, based on how much information the
18 complainant or complaining witness wants to share in

19 the process,

20 Q. And in addition to speaking to a fact

21 finder, the complaining witness would not be able to
22 proceed anonymously, correct?

23 A. Correct.

24 Q. So the complaining witness' name would be
25 revealed to the respondent?

 

 

 

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1 A. In a formal process, the complaining

2 witness's name is revealed.

3 Q. Sure. Other than in the situation where

4 the respondent poses a danger to the community, or

5 the complainant, or the complaining witness, does the

6 Title IX officer take a position regarding whether a

7 formal complaint should be pursued?

8 A. No. The Title IX office and the Title IX

9 Coordinators work with complainants to try to
10 determine what outcomes they're aspiring to.
11 Q. So there wouldn't be a case where the

12 Title IX office decides that this is a case that we
13 want to pursue, a formal complaint?

14 A. Not without the complaining witness's

15 agreement that this is the direction to go.

16 Q. So slightly rephrased, there are cases

17 where the Title IX office will decide we want to

18 pursue this as a formal complaint, if the complaining
19 witness agrees to participate?

20 A. No.

21 Q. So that --

22 A. The Title IX office is interpreting the

23 complainant's wishes, for outcomes. And so the Title

24 IX office may agree to file the Complaint, to meet

25 the complaining witness' wishes, We don't

 

 

 

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1 independently decide to file a formal complaint.
2 Q. Is there's never been a situation where

3 the Title IX office has decided that we think that

4 this case is appropriate to be resolved by a formal

5 complaint, provided that the complaining witness will
6 agree to participate in the process?

7 A. We don't make the decision to pursue the

8 formal complaint. The complaining witness or the

9 complainant decides to pursue a formal complaint.
10 Q. But I'm asking a slightly different

11 question. Which is does the Title IX office ever

12 decide that the Title IX office wants to pursue a

13 formal complaint provided that the complaining

14 witness will agree to participate in that process?
15 A. That has not been my experience.

16 Q. So if a complaining witness is willing to
17 participate in a formal -- strike. If a complaining
18 witness does not want to be the named complainant,
19 but is willing to participate as a witness, speak to

20 the fact finder, are there cases where the Title IX

21 office decides that the case is an appropriate case
22 to pursue as a formal complaint process?

23 MR. NOONAN: I'm sorry, are you

24 saying decides it was not appropriate or was

25 appropriate?

 

 

 

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1 MR. KIELY: I'll rephrase it.
2 Q. Are there cases where provided that the
3 complaining witness agrees to participate in a formal
4 complaint process, the Title IX office -- strike
5 that,
6 Provided a complaining witness
7 agrees to participate in the process, but not be
8 named as a complainant, what are the reasons that it

9 would, that the Title IX office would recommend
10 pursuing a formal as opposed to informal Complaint?
11 A. The Title IX office doesn't recommend.

12 The Title IX office would serve or Title IX

13 Coordinator would serve as the complainant in a case,
14 for jurisdictional reasons, for safety reasons, or
15 for complainant preference reasons, But the goal is
16 to work to achieve the complainant or complaining

17 witness' goals.

18 Q. So does the Title IX office never

19 privately forms a view as to the appropriateness of
20 formal versus informal Complaint in a particular

21 case?

22 A. Depends how you define view. What we

23 would determine is what options should be presented
24 to a complainant, and help the complainant decide

25 which of those options align with the complainant's

 

 

 

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1 goals.
2 Q. Are there situations where a complainant
3 is not presented with both the formal and the
4 informal option?
5 A. Not that I know of.
6 Q. So the complaining witness is always
7 presented with the formal and the informal option,
8 correct?
9 A. And the criminal option.
10 Q. And the criminal option. And would a
11 Title IX Coordinator ever express a view to a
12 complaining witness whether an informal versus a
13 formal resolution is more appropriate for that
14 particular case?
15 A. The Title IX Coordinator would present
16 information about informal and formal resolution
17 processes. So that the complainant can decide which
18 are better aligned based on the information the
19 complainant has with the complainant's goals.
20 Q. You would agree with the general statement
21 that there are provided, whatever resolution is
22 ultimately sought is consistent with the
23 complainant's goals, that there are certain cases
24 that are more appropriate for formal resolution and
25 there are certain cases that are more appropriate for

 

 

 

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1 informal resolution?
2 MR. NOONAN: From whose point of
3 view?
4 Q. From the point of view of the Title IX
5 office.
6 A. Once again, the view is through the
7 complainant's goals. And the complainant's wishes,
8 The Title IX office does not have, does not create an

9 independent view. The Title IX office or Title IX
10 Coordinators work with complainants to determine
11 which option seems to best match the complainant's

12 goals, and the Title IX office provides the

13 complainant with the information that the complainant
14 needs to make that determination.

15 Q. So let me step back. So if an informal

16 process is pursued, that might result in some sort of
17 recommendation to the respondent to, for example, get
18 counseling, is that accurate?

19 A. lt could.

20 Q. But an informal process would not result
21 in the respondent being -- having some sanction

22 imposed on him, correct?

23 A. A student or faculty respondent would not
24 have a sanction imposed as a result of, or discipline
25 imposed as a result of an informal process.

 

 

 

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1 (Recess taken: 1:08~1:19 p.m.)
2 CONTINUED BY MR. KIELY:
3 Q. I'm now going to put in front of you
4 what's already been marked as Exhibit 64. And my
5 first question is whether you recognize this
6 document?
7 A. Again, l have -- l don't have time to
8 review the whole document, but it is titled Voluntary
9 Resolution Agreement for Yale University, Complaint

10 number 01112027.

11 Q. ls it correct that in 2011, a group of

12 Yale students filed a Title IX Complaint against Yale
13 with the Department of Education?

14 A. There was a Complaint filed against Yale
15 University in 2011.

16 Q. And the Department of Education Office of
17 Civil Rights initiated an investigation of the

18 Complaint?

19 A. Yes.
20 Q. And this document that I've just placed in
21 front of you is an agreement resolving that

22 Complaint?
23 A. It's called a Voluntary Resolution
24 Agreement.

25 Q. And is it your understanding -- so if you

 

 

 

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1 A. Yes.

2 Q. Okay. So if you'd turn to page 2, it says

3 that the university -- at the very bottom, Grievance

4 Procedures Addressing Sexual Misconduct, B2. lt says

5 "lf the university creates a new Title lX grievance

6 process, the university will ensure it, as does the

7 present UWC process affords the following."
8 A. Yes.
9 Q. And then it lists a number of -- there's a

10 number of items following that, ltem F, it says

11 "Adequate, prompt and impartial investigations of

12 allegations of sexual misconduct, including 1; Not
13 delaying the university's investigation of the

14 possible sexual misconduct under Title lX until

15 related criminal processes are concluded," and 2:

16 "Equitable information gathering from both the

17 complainants and the alleged perpetrators;" did l

18 read that correctly?

19 A. Yes.

20 Q. And does Yale's UWC process in fact comply

21 with what l‘ve just read in letter F?

22 A. l believe it does.

23 Q. And if you'd turn down to C, on the same
24 page, here it describes, it says "The university has
25 conducted and will continue to hold annual training

 

 

 

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1 harms, have requested that the university provide
2 alternatives to the formal complaint option."
3 A. Yes.
4 Q. So is that an accurate statement?
5 A. Yes.
6 Q. And it goes on to say here "They,"
7 referring to many in our community, "have underscored
8 that choice of and control over the promises whenever
9 possible is an important element in helping those
10 affected regain their sense of well-being." ls that
11 an accurate statement?
12 A. Yes.
13 Q. Do you recall that this particular edition
14 of the semiannual report caused some controversy?
15 A. Yes.
16 Q. Okay. And describe for me what was the
17 nature of that controversy?
18 A. The controversy -- the publication of this
19 report coincided with intensified action by certain
20 groups at the federal level with the Department of
21 Education about how they were addressing sexual
22 misconduct on campuses. And we received after this
23 report, a number of communications with a variety of
24 concerns.
25 The most intense concern was that

 

 

 

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1 they questioned why we were sanctioning
2 non-consensual sex with a variety of sanctions and
3 why non-consensual sex, which some of our
4 correspondence equated to a criminal offense, why
5 they were not all treated more severely. That was
6 one. The most prominent concern is that we were both
7 variable and mild in treating findings of
8 non-consensual sex.
9 Q. So is it fair to say that one of the
10 criticisms was over the use of the term
11 "non-consensual sex?"
12 A. Not necessarily. That was -- no, that's
13 not necessarily the criticism.
14 Q. ls it fair to say that one of the
15 criticisms was that Yale was not sanctioning students
16 found responsible for non-consensual sex severely
17 enough?
18 A. That was one of the criticisms.
19 Q. And, in fact, this controversy got some
20 coverage in the national media, correct?
21 A. As l recall.
22 Q. Okay. And did you read any of the
23 articles that were published in various outlets about
24 this?
25 A. Yes.

 

 

 

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1 Q. Are you familiar with her?
2 A. Yes.
3 Q. Why are you familiar with her?
4 A. She is very prominent activist, created an
5 organization called "Know your le." ln addition,
6 she was the one petitioning the federal government
7 with thischange.org.
8 Q. The other Yale student that purports to
9 quote is Hanna Slater.
10 A. Uh-huh.
11 Q. Are you familiar with Hanna Slater?
12 A. l know who she is. l'm not gonna go into
13 great detail about certain names you bring up to me
14 for reasons of privacy.
15 MR. NOONAN: The question was does
16 she know who she is, the answer was yes.
17 Q. But you're right, you should not reveal
18 confidential information about an individual. But l
19 don't think he was asking for any private
20 information.
21 MR. KlELY: l waSn't.
22 Q. Do you know whether she's an activist or
23 no£?
24 A. l don't recall.
25 Q. And again specifically -- well,

 

 

 

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1 specifically this article is referring to the fact
2 that in the July 31, 2013 edition of the semiannual
3 report, it reports that six students were found
4 responsible for non-consensual sex, and one was
5 suspended and the other five were given lesser
6 sanctions?
7 A. Yes. That's what it says.
8 Q. And people were not happy about that?
9 A. People in this article were not happy
10 about that.
11 Q. And others in the Yale community were not
12 happy about that either?
13 A. There were concerns about that.
14 Q. Okay. And you don't need to read it, but
15 the -- you can if you want, the Huffpost article,
16 103, you can read it, but my question to you is just
17 whether it's fair to say that a similar concern is
18 outlined in that article?
19 A. Then l'll have to read it.
20 Q. Okay. Go ahead.
21 (Pause in the Proceedings)
22 A. Okay.
23 Q. So again, that article, Exhibit 103, from
24 the Huffpost, the headline is just for the record,
25 "Yale fails to expel students guilty of sexual

 

 

 

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1 Q. And this is dated August 5th, 2013?

2 A. Yes.

3 Q. And this is also something that's

4 available on Yale's website?

5 A. Yes.

6 Q. And now l'm going to show you what's

7 previously been marked as Exhibit 21. Do you

8 recognize this?

9 A. l see that it is a letter from Yale alumni
10 to me and President Salovey on the sexual misconduct
11 report,

12 Q. Okay. And you've seen this before today
13 certainly?

14 A. l have seen this before today.

15 Q. And it's signed by over 200 alumni?

16 A. l haven't counted. They count themselves.
17 There are 229 names on this.

18 Q. And these people represent themselves as
19 being alumni?

20 A. They include years of graduation.

21 Q. And it also actually includes a few

22 current students at the time? l will represent to
23 you that this --

24 A. l see one so far.

25 Q. l will represent that this list contains

 

 

 

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1 the names of three persons based on their graduation
2 year, were current Yale students at the time that
3 this letter was written.
4 A. Okay.
5 Q. And is it fair the say that this letter
6 got a fair amount of publicity at the time?
7 A. l don't know.
8 Q. This was not something that was reported
9 on in the media?
10 A. l don't know. l don't recall.
11 Q. And again, one of the concerns expressed
12 is the use of the term "non-consensual sex" to
13 describe sexual assault?
14 A. Yes.
15 Q. And another concern is that formal
16 complaints of non-consensual sex resulted in written
17 reprimands and sensitivity training?
18 A. l have to read through the letter, if you
19 don't mind.
20 (Pause in the Proceedings)
21 A. Okay.
22 Q. And so you've read the letter?
23 A. Yes.
24 Q. So one of the concerns expressed in this
25 letter is the use of the term "non-consensual" to

 

 

 

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1 describe sexual assault, correct?

2 A. Yes.

3 Q. And another concern is that formal

4 complaints of non-consensual, that resulted in a

5 finding of responsibility, the offenders were given

6 written reprimands and sensitivity training?

7 A. Yes.

8 Q. And if you look at the top of the second

9 page, it says "Our second concern is that Yale's

10 punishments for sexual assault further re-enforce the
11 myth that some sexual assaults are 'real' while

12 others merit only minor punishments"?

13 A. Yes.

14 Q. And the letter closes if you look at the
15 final paragraph, "We urge the university to replace
16 the term "non-consensual sex" in its reports with the
17 term "sexual assault," and to punish perpetrators of
18 sexual assault in a way that recognizes the gravity
19 of these crimes". ls that correct?
20 A. Yes.
21 MR. KlELY: This is gonna to be 106.
22 (Plaintiff‘s Exhibit 106
23 Marked for identification)
24 Q. Bates number MONT 000768 is Exhibit 106,
25 which l'm handing to you. My question is, do you

 

 

 

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1 Q. So what this shows is that it's estimated
2 that one in three Yale women is or will be the victim
3 of a criminal sexual assault since entering Yale?
4 MR. NOONAN: Objection.
5 A. That's not correct.
6 MR. NOONAN: lt clearly is not
7 correct.
8 Q. Tell me why it's not correct.
9 A. lt's not correct. lt says that it is
10 estimated that roughly one in three Yale seniors,
11 okay, have experienced at least one episode of sexual
12 assault via force or incapacitation, meaning
13 touching, penetration or oral sex, via force or
14 incapacitation, while they're -- since entering
15 college.
16 Q. And previously you equated that sexual
17 assault by force or incapacitation as a definition of
18 sexual assault that meets most criminal standards,
19 correct?
20 A. l said that on page 2.
21 Q. Okay. And so that's a very troubling
22 statistic, correct?
23 A. These results are disturbing, as l said
24 before.
25 Q. l mean isn't that more than disturbing?

 

 

 

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1 MR. NOONAN: Objection.

2 A. That's -- l don't --

3 Q. Would you characterize that as an

4 emergency?

5 A. No.

6 Q. Why not?

7 A. l would characterize it as disturbing, and

8 it requires the attention of the whole community to

9 address. lt's not an emergency that can be repaired
10 in an extremely short period of time with only a few

11 people.

12 And redoubling of the efforts was to
13 engage the community in reporting and providing more
14 information behind these members, and to work

15 together to prevent these behaviors. So it is

16 certainly a call for the community to work together
17 on this issue. They're disturbing numbers that

18 require community effort and a sense of importance

19 and seriousness.

20 Q. Let's turn to page 10 of this document,

21 And actually turn to page 9, just so you can see that

22 this is a section of the report that refers to

23 reporting experiences.

24 A. Uh-huh.

25 Q. And so that's referring to experiences of

 

 

 

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1 to file a complaint?
2 A. lt was a small number but that's
3 concerning. We don't want students to feel pressured
4 in either direction.
5 Q. And so after --
6 A. lt didn't say to file a complaint, may l
7 say. lt said to proceed. And actually, if --
8 MR. NOONAN: Can you let her finish?
9 A. Go ahead.
10 Q. Well, you --
11 A. lf you had the actual survey with you, we
12 should look at that in the survey.
13 Q. First of all, l just want to see what it
14 says here, which is that the students were asked
15 whether they -- students who had experienced sexual
16 assault were asked whether they felt pressured by
17 officials at these university programs to file a
18 complaint. And that some students felt pressured by
19 a Title lX Coordinator, the UWC or Yale Health to
20 proceed. So it's equating proceeding with filing a
21 complaint, right?
22 A. Right, could be informal.
23 Q. Sure. So in response to that, did you,
24 did the Title lX office take any response to this
25 report from students that some students were being

 

 

 

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1 pressured to proceed with a complaint?
2 A. We certainly took note of it and we
3 actually, again, worked on clarifying our message,
4 and one of the messages we clarified more expansively
5 was that the complainant's wishes are what should
6 determine how a complainant proceeds with a
7 complaint.
8 And so that's how we -- that was the

9 messaging plan we had in response to this, and also,

10 to our presumption that the reporting rates might be

11 lower because people were concerned about losing

12 control of the process. We're very much committed to
13 the complainant retaining control of the process and
14 not feeling pressured to go in one direction or the

15 other. So actually that's how we responded is by

16 really making that clear.

17 Q. And how exactly did you make that clear?
18 How was that communicated to the relevant

19 individuals?

20 A. We published, we worked with our student
21 advisory committees to ask how our messaging is clear
22 or unclear. We produced the document about what

23 happens when you go to a Title lX Coordinator, The
24 main way we messaged in the immediate -- so you asked

25 if we took this seriously and with some time

 

 

 

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1 pressure, in the immediate months after the AAU

2 survey, we went on campus, to various groups and

3 presented the data and also addressed some of these
4 issues in hundreds -- dozens, over a hundred, closer
5 to two hundred meetings.

6

And also worked with the Deans of

7 each of the graduate professional schools on what

8 their messaging was to students, to answer questions,
9 so we wanted to make sure campus leaders were fully
10 acquainted with what our approach was to people
11 coming forward.
12 And we were concerned, in

13 particular, that students who might need support and

14 safety measures, were not reporting to us. And so we
15 wanted to clarify that when you bring a complaint, we
16 will not take any action or\expose you without your
17 agreement unless there is a risk of safety to the

18 community, and that applies to anyone.

19 And l don't know what Yale Health

20 might have been doing, but we actually educated Yale

21 Health as well, that's their medical provider, so may

22 have also encouraged them to come to one of us.
23 Q. So what you described there was your
24 message to the community, but my question is what was

25 your message to the Title lX Coordinators about

 

 

 

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1 whether or not it was appropriate to pressure a
2 student to file a complaint?
3 A. We talked about it. l don't think any --
4 l think all of them, and as l said we don't just
5 train once a year, we meet monthly, we work together
6 on these messages to the community. And, in fact,
7 some of the Coordinators themselves went out and
8 presented the data and the message to their own
9 communities.
10 There was a lot of activity after
11 this report and a lot of it was to clarify what our
12 resources are, and what our procedures are,
13 Q. So you mentioned that you hold in the fall
14 annual trainings for Title lX and UWC, Correct?
15 A. Yes.
16 Q. And so do you recall when the fall of 2015
17 training was held?
18 A. l don't recall the dates.
19 Q. Do you recall if it was before or after
20 the results of the AAU survey were published?
21 A. l don't recall.
22 Q. Do you recall whether the AAU survey was
23 discussed at the training?
24 A. l recall presenting AAU survey results at
25 a UWC training, l don't recall the date. But the AAU

 

 

 

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1 survey in its development, conduct and analysis, was
2 discussed continually with Title lX personnel, with
3 the Title lX Steering Committee and with the Title lX
4 Coordinators in their regular meeting.
5 Q. You're talking about the results of the
6 survey?
7 A. No. We're talking about when we planned
8 to do it, how it was actually, the efforts of
9 students themselves on our advisory boards as well as
10 our Coordinators and the Steering Committee who
11 talked about what kind of survey to do, our own,
12 engaged with the AAU. So it was, so the whole
13 process of the survey was discussed.
14 Q. But once the survey results were released
15 which you previously agreed you found distressing --
16 A. Yeah.
17 Q. And that there was a need to take action.
18 Was that not discussed at the fall 2015, the annual
19 training?
20 MR. NOONAN: Was what?
21 A. l just don't know the date. lt was
22 certainly discussed with the members of -- that
23 training is not the only time those members get
24 together to discuss things. Many of those members
25 are in Title lX Steering or our Title lX Deputy

 

 

 

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1 what l recall of USAY as we call them,
2 Q. And you don't have any formal affiliation
3 with USAY?
4 A. No.
5 Q. And what about the Yale Black Women's
6 Collation, have you attended any of their events?
7 A. l don't believe. Not that l recall.
8 Q. Do you recall that in early March, 2016,
9 after Jack Montague had been expelled, the men's
10 basketball team wore jerseys with his jersey number
11 and nickname to a pre-game warm-up?
12 A. Yes.
13 Q. ls it fair to say that caused quite a
14 controversy on campus?
15 A. Yes.
16 Q. And why was that?
17 MR. NooNAN; objection.
18 Speculation.
19 A. l can't speculate.
20 Q. What was the nature of the controversy?
21 A. There were posters, as l recall, and
22 students voicing objections to that act by the
23 basketball team.
24 Q. And what was the nature of the objections
25 that were being voiced?

 

 

 

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1 A. Well, the nature of some objections were

2 that the basketball team was supporting sexual

3 misconduct,

4 Q. Do you recall around that time attending a
5 chalk-in event?

6 A. Yes.

7 Q. And what was the chalk-in event?

8 A. l don't recall the specifics, but the

9 chalk-in event l attended was a chalk-in event to
10 express positive aspirations in chalk, in front of

11 the library, which is something the students do, as
12 opposed to -- in the wake of a lot of the negativity.
13 Q. And do you recall, did Jason Killheffer

14 attend that event with you?

15 A. l don't recall.

16 MR. KlELY: l'm going to mark 108.
17 (Plaintiff's Exhibit 108

18 Marked for identification)

19 MR. KlELY: Bates Yale 00017153.

20 3/9/16 e-mail.

21 Q. l'll give you a minute to look through
22 this, and l'll ask you whether or not you recognize
23 this?

24 (Pause in the proceedings)

25 A. Okay.

 

 

 

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1 Q. So is it accurate that this is an e-mail
2 chain between you and various other individuals
3 discussing generally the chalk-in that we just talked
4 about?
5 A. No, it's not. l was only copied in the
6 very last message, l was not on the chain.
7 Q. So you say you dropped off, and --
8 A. No. l was never on it if you look

9 through. That's why l'm reading it so carefully.
10 MR. NOONAN: l didn't see her

11 anywhere but the last one.

12 A. Just the last one.

13 Q. Okay. But in any event, so there's an

14 e-mail chain among Melanie Boyd and Jonathan Holloway
15 and several others, discussing the chalk-in, and on

16 March 8th, Melanie Boyd forwards it to you and says

17 "l'm sorry, l thought you were in this chain?"

18 A. Yes.

19 Q. And then you respond or you reply to

20 everyone on the chain, on March 9th, and you say

21 "Just wanted you to know that Jason Killheffer and l
22 will be going to the chalk-in at noon." So and you

23 did, in fact, attend the chalk-in?
24 A. l recall, yes.

25 Q. And you ask, "ls it correct that the

 

 

 

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1 basketball team will not," in all caps, "BE
2 ATTENDING?" And l guess my question is, why were you
3 concerned whether or not the basketball team would be
4 attending?
5 A. l just wanted to know whether they were or
6 not. The chain indicates that if they come, there
7 might be confrontation, and unrest. So l had no
8 opinion whether they should come or not, it's just l
9 was emphasizing that l was asking if they were or

10 were not coming.

11 And l couldn't tell. There are

12 various implications throughout the e-mail chain.

13 Q. l think you said that the chalk-in was,

14 the purpose of the chalk-in is to write supportive

15 messages in chalk; is that correct?

16 A. Yes. lt says it here, "Chalk-in on Cross

17 Campus Plaza supporting positive campus climate and

18 opposing sexual misconduct." lt was a very

19 positive -- they were positive messages. lt's in the

20 first message.

21 Q. Sure. And what was the -- if you recall,

22 what was the general tenor of the messages that

23 people wrote in chalk at the chalk-in?

24 A. l can't recall the messages. l recall the

25 tenor being calm and positive. But l don't remember

 

 

 

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